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  UNITED STATES DISTRICT COURT FOR THE NORTHERN
               DISTRICT OF GEORGIA      FILED IN CLERK'S OFFICE
                                                                                 u.s.D.C. -Atlanta

                                                                                     MAY 2 4 2021
THAD DIS POUNCEY JR.,                       )
and DEANGELA L WALKER,                      )
INDIVIDUALLY                                )
                                            )
               Plaintiff,                   )
                                            )
               V.                           )
                                            )
SANDRA DEDEAUX, USAA                        )                                    /
CASUALTY INSURANCE                          )
COMPANY, and USAA                           )
CASUALTY INSURANCE                          )
COMPANY                                     )
                                            )
               Defendants.                  )




                            PLAINTIFFS' ORIGINAL COMPLAINT

COME NOW THADDIS POUNCEY JR, AND DEANGELA L. WALKER, Plaintiffs, in pro se

and allege as follows:


                                         LPARTIES

1.1    Plaintiff THADDIS POUNCEY JR is a resident and citizen of Georgia. He brings this

negligence action on behalf of himself and his wife, DEANGELA L. WALKER, individually.


1.2    Defendant SANDRA DEDEAUX is a resident and citizen of Mississippi and can be

served with process at his residence: 831 Cedar Lake Rd, Apt 303, Biloxi, Mississippi 39532.
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1.3    Defendant UNITED SERVICES AUTOMOBILE ASSOCIATION AND CASUALTY

INSURANCE COMPANY (hereinafter referred to as "USAA") is a Texas corporation with its

principal offices located in San Antonio, Texas, and at all times material hereto was authorized

and was doing business in the state of Georgia. Defendant may be served with process by and

through their attorneys of record in its capacity as liability insurer of SANDRA DEDEAUX and

USAA CASUALTY INSURANCE COMPANY at: Richard R. Stedman, Adams, Hoefer,

Holwadel, LLC, 400 Poydras Street, Suite 2450, New Orleans, Louisiana 70130.


1.4    Defendant UNITED SERVICES AUTOMOBILE ASSOCIATION AND CASUALTY

INSURANCE COMPANY (hereinafter referred to as "USAA") is a Texas corporation with its

principal offices located in San Antonio, Texas, and at all times material hereto was authorized

and was doing business in the state of Georgia. Defendant may be served with process by and

through their attorneys of record in its capacity as UM insurer of Thaddis Pouncey Jr and USAA

Casualty Insurance Company at: Darrin M. O'Connor, Porteous, Hainkel & Johnson, L.L.P., 408

N. Columbia Street, Covington, Louisiana 70433.


                                Il. JURISDICTION & VENUE

2.1    The district court has original jurisdiction of this civil action pursuant to 28 U.S.C. §

1332(a). The amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000),

exclusive of interest and costs. Plaintiffs THADDIS POUNCEY JR and DEANGELA L.

WALKER are citizens of Georgia. Defendant SANDRA DEDEAUX is a citizen of Mississippi.

Defendant USAA is a corporation incorporated under the laws of Texas and is authorized and

doing business throughout the state of Georgia. Defendant USAA CASUALTY INSURANCE
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COMPANY is corporation incorporated under the laws of Texas and is authorized and doing

business throughout the state of Georgia.


2.2    Venue is properly before this Court under 28 USC§ 139l(a) (2), because Plaintiffs are

residents of Dekalb County, which is a county in the state of Georgia and thus under the

Northern District Court in the state of Georgia.


                                       ill. BACKGROUND

3.1    On or about May 24, 2019, Defendant SANDRA DEDEAUX was negligent in the

operation of her vehicle. While operating the vehicle, SANDRA DEDEAUX rear ended Plaintiff

THADDIS POUNCEY JR. and DEANGELA L. WALKER while stopped at an intersection.

Defendant SANDRA DEDEAUX was insured by Defendant "USAA" while operating her

vehicle. Plaintiff THADDIS POUNCEY JR. was also insured by "USAA" while operating his

vehicle during the time of the accident. Plaintiff, due to the extent of injuries suffered, will

require compensation over and above Defendants liability policy, thus activating Plaintiff's UM

portion of his USAA coverage. The Defendants' negligence proximately caused Plaintiff's

personal injuries and damages as more thoroughly described herein. Therefore, Plaintiff brings

suit against Defendants USAA liability policy and Plaintiff's USAA UM coverage on the

following grounds.


       IV. CAUSES OF ACTION: DEFENDANT, SANDRA DEDEAUX AND USAA

4.1    Defendant SANDRA DEDEAUX was negligent in her actions and/or omissions in

operating a motor vehicle. Specifically, Defendant was negligent in, but not limited to, the

following manner:
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       1. a) Failing to stop before rear ending the Plaintiffs;

       2. b) Failing to take proper evasive action;

       3. c) Failing to apply the appropriate brakes to the vehicle she was driving;

       4. d) Failing to avoid the accident;

       5. e) Failing to maintain a proper lookout; and

       6. f) Failing to operate the vehicle in a reasonably attentive manner;


4.2    Defendant's acts and/or omissions constitute a failure to use due care as described above.

Defendant's failure to use care was a proximate and producing cause of Plaintiff's injuries and

damages as described more thoroughly herein. Defendant is therefore liable to Plaintiffs for their

personal injuries and damages sustained as a direct result of Defendant's negligence. The police

report designates Defendants vision was not obscured or bad driving conditions. The report also

states defendant was inattentive and thus cited for following too closely and ultimately causing

the accident.


4.3     Defendant USAA is legally responsibly to Plaintiffs for the negligent conduct of

Defendant SANDRA DEDEAUX being Defendants liability automobile insurer. Defendant

USAA is also legally responsible to Plaintiffs as Defendant at all times during, before, and after

the accident was Plaintiffs UM insurer. As a result, thereof, Defendant USAA is liable for all

negligence of Defendant SANDRA DEDEAUX under her liability portion of her USAA policy

as well as any amounts over and above her liability policy to be covered by USAA as Plaintiffs

UM carrier.


                                   V. GENERAL DAMAGES
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5.1    As a direct and proximate result of the Defendants' negligence, Plaintiff suffered

damages allowed by law for personal injuries in an amount in excess of $75,000.


5.2    As a further result of Defendants' negligence, Plaintiffs THADDIS POUNCEY JR., and

DEANGELA L. WALKER have suffered serious and permanent personal injuries. Plaintiff

THADDIS POUNCEY JR,. suffered the following damages:


       1. a) Medical expenses incurred in the past.

       2. b) Medical expenses which in all probability will be incurred in the future.

       3. c) Loss of past earning capacity.

       4. d) Loss of earning capacity which in all probability will be sustained in the future.

       5. e) Physical impairment in the past.

       6. f) Physical impairment which in all probability will be sustained in the future.

       7. g) Physical pain and mental anguish in the past.

       8. h) Physical pain and mental anguish will in all probability be sustained in the future.

       9. i) Potential surgery in the future.

       10. j) Potential causation of a heart issue due to chest trauma during accident.


Plaintiff DEANGELA L. WALKER suffered the following damages:


       1. a) Medical expenses incurred in the past.

       2. b) Medical expenses which in all probability will be incurred in the future.

       3. c) Loss of past earning capacity.

       4. d) Loss of earning capacity which may be sustained in the future.

       5. e) Physical impairment in the past.
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       6. f) Physical impairment which may be sustained in the future.

       7. g) Physical pain and mental anguish in the past.

       8. h) Physical pain and mental anguish will in all probability be sustained in the future.


                                  VI. PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs requests this Court issue citation to Defendants to answer, and

upon a trial by jury of this matter, enter judgment against the above-named Defendants for

compensatory damages in an amount in excess of $75,000, together with pre- and post- judgment

interest, attorneys' fees, costs and such other and further relief as the Court deems just and

equitable.


Respectfully submitted,




THADDIS POUNCEY JR.
DEANGELA L. WALKER
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SteM225
Decatur, GA 30030
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